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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

     IN DEFENSEOF ANIMALS,
                                                    )
                              Plaintiff             )
                                                    )
                    v.                              )
                                                    )       Civil Action No.        02 -0557 (RWR)
     THE UNITED STATESDEPARTMENT
     OF AGRICULTURE                                 )

                             Defendant
            and                                     )
                                                    )
     LIFE SCIENCESRESEARCH,INC.                     )
                                                    )
                             Intervenor

                              DECLARATION OF MICHAEL CAULFIELD

            I, Michael Caulfield, do herebydeclareand stateasfollows:

            1.       I, Michael Caulfield ("Caulfield ") am the General Manager of Huntingdon Life

                     Sciences,Inc.l ("Huntingdon").

                     I havepersonalknowledgeof the factscontainedin this declaration.

            3        I haveservedas GeneralManagerof Huntingdonfrom February4,2002 to the

                     presentday.PreviouspositionsI haveheld at Huntingdonwere: Vice-President,

                     Operations (July 1999 to February 2002), and Director, Quality Assurance and

                     RegulatoryAffairs (February1996to July 1999).

             4.      My dutiesasGeneralManagerincludeoverall responsibilityfor Huntingdon's

                     United StatesOperations.




     1 HuntingdonLife Sciencesis a wholly ownedsubsidiaryof Life SciencesResearch,Inc. who intervenedonbehalf
     of Huntingdonin this matter.




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                    THE CONTRACT RESEARCH ORGANIZATION INDUSTRY

           Huntingdon operatesas a Contract ResearchOrganization ("CRO"), in a growing

           and highly competitiveindustry.

     6.    ExtensiveuseofCROs by companiesin the phannaceutical,biotechnology,

           medicaldevice,andchemicalsindustrieshasbecomestandardpractice.

           Huntingdonbelongsto a groupof about20 large,global-reachingCRas, which

           include well-knownnameslike Covance,QuintilesTransnational,Phannaceutical

           ProductDevelopmentInc., PAREXEL, andKendleInternational.

     8     Competitionfor large,multi-million dollar programsof work from major industry

           playersis fiercestamongtheselargerlaboratories,which havethe scopeof

           capabilities,experienceand reputationnecessaryto accommodate
                                                                      the extensive

           testingrequirementsof theselargecompanies.

     9,    Otherimportantcompetitivefactorsincludethe ability to comply with demanding

           federal standards on study conduct and data integrity, and the ability to maintain

           strict confidentiality of the details about client's development programs, with

           which CROsareentrusted.

     10.   This latter factoris a driving and significantfactor in the CRO selectionprocess,a

           function of the considerable and understandableconcern exhibited by drug and

           chemicalmanufacturersin sendingsensitive,pre-patentR&D informationto

           third-partycompanies.
           Accordingly, there are no professional organizations or societies that support the

           CRO industry, and exchange ofinfonnation and professional "networking",

           which is so commonin otherindustries,is not practicedamongCRO competitors,

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           who, as part of their business strategy, place particular emphasis on the

           confidentialityof their operationsasan essentialingredientin attractingnew and

           repeatbusiness.

THE CONDUCT THAT FORMED THE BASISFOR THE COMPLAINT FILED BY THE UNITED STATES
 DEPARTMENT OF AGRICULTURE ("USDA") IN 1998 DOES NOT IMPACT THE COMMERCIAL
                     VALUE OF THE INFORMATION AT ISSUE.

     12.   The quality and integrity of the testproceduresandthe testresultsin the records

           at issue were not affected by the conduct that was the subject of USDA's

           investigation and subsequentcomplaint,

     13.   Virtually all of Huntingdon'sstudies(including all studiescurrently at issuein

           this matter),areconductedin strict accordancewith federalGood Laboratory

           Practice ("GLP") regulations (21 CFR Part 58), the core purpose of which is the

           assuranceof dataquality, integrity andreproducibility.

     14.   GLP regulationsmustbe followed to ensurestudyacceptanceby regulatory

           authorities. HuntingdonLife Scienceshasconductedstudiesin accordancewith

           GLP standardssincethe inceptionof theseregulationsin 1979.

     15.   Both the FDA andthe EPA (who maintainseparate,but similar GLP regulations

           at 40 CFR Parts 160 & 792) conduct comprehensive, on-site inspections to ensure

           complianceto GLP regulations.

     16.   In addition, these regulations require that an independent Quality Assurance Unit

           ("QAU") be maintained by eachregulated facility.

      7.   The QAU must inspecteachstudyat intervals"adequateto ensurethe quality and

           integrity of the study",




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18    Over 5% of Huntingdon's total headcountis comprised of full-time Quality

      AssuranceAuditors, who conducthundredsof inspectionsannuallyto ensure

      compliancewith GLP dataintegrity standards.

19.   Huntingdonhasconductedthousandsof GLP studiesat its laboratoryin New

      Jersey,where all studies are run to this standard,regardless of whether or not they

      areintendedfor regulatorysubmission.

20.   No studyconductedat Huntingdon'sNJ laboratoryhas everbeenrejectedby any

      regulatoryauthority.

21    Moreover,EPA and FDA inspectorsroutinely conductGLP inspectionsfor the

      specific purpose of ascertaining Huntingdon's compliance to GLP standards.

22.   Although the EPA doesnot maintaina rating systemfor GLP inspections,the

      resultsof the systemfollowed by the FDA areindicative of the level of data

      integrity and studyquality maintainedby HuntingdonLife Sciences.

23.   FDA classifies the results of GLP inspections as Official Action Indicated ("OAl"

      -generally resulting in a formal Warning Letter, study rejection, enforcement

      proceedings or laboratory disqualification), Voluntary Action Indicated ("V AI"

      signifying minor citations or recommendations that are easily rectified), or no

      action indicated ("NAI").

24.   All of Huntingdon'sGLP inspectionsby FDA havebeenclassifiedas eitherVAl

      or NAI.

25    USDA's own pressrelease,issuedfollowing its complaintagainstHuntingdonin

      1998, indicated that the majority of the citations contained therein related to

      record-keepingdeficienciesassociatedwith Huntingdon'sInstitutionalAnimal

      Care and Use Committee ("IACUC")

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       26.   The existence of an IACUC is not a statutory requirement for acceptanceof

             researchdataby FDA or EPA, nor is it requiredfor the greatmajority of research

             that is conducted on rodents, which are not included under the Animal Welfare

             Act.

       27.   Acceptance of researchdata by the regulatory authorities charged with product

             approvalis a key considerationin definingthe valueof this datato the clientele

             that Huntingdonserves.

       28,   USDA itself relied almostexclusivelyon Huntingdon'sown recordsin drawing

             the conclusions reported in its 1998 complaint.

       29.   USDA withdrew its complaintwhenit agreedto enterinto a ConsentDecreewith

             Huntingdon,in which Huntingdonadmittedto no breachof the Animal Welfare



       3O.   GivenHuntingdon'slong recordof generatingdatathathasbeenconsistently

             acceptedby regulatoryauthoritiesin supportof productapproval,andthe

             investigative focus by USDA on IACUC issues, it is clear that the issues

             containedin USDA's complaintagainstHuntingdondid not compromisethe

             quality or integrity of the datageneratedfor the studiesat issue.

       31.   Furthennore,USDA's investigationdid not, in anyway, devaluethe quality of the

             recordsin the eyesof the regulatoryauthoritiesresponsiblefor detennining,based

             on their quality and integrity, whether such data will be acceptedto support

             approvalof newproducts.




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 THE DISCLOSUREOF ANY INFORMATION RELATING TO TEST PROCEDURESAND
              RESULTSWOULD CAUSECOMPETITIVE HARM


32.   The following facts demonstrate how the releaseof any information relating to

      testresultsandprocedurescould benefitthe competitorsof Huntingdonandits

      clients:

      a. New medicinestake, on average,over 10 yearsandmore than $800 million to

          develop,before FDA approvalis obtained.FDA approvalalonetakes,on

          average, over 16 months.

      b. Worldwide pharnlaceutical sales exceeded$360 billion in 2001. Of this

          amount,overone-thirdwas spenton drugsin the top lO therapeuticclasses

          (antiulcerants,cholesterol& triglyceridereducers,antidepressants,

          aitrheumatics,calciumantagonists,antipsychotics,antidiabetics,ACE

          inhibitors, cephalosporins
                                   & antihistamines).

      c. Competitionto producenew andbetterproductsfor patientswithin these

         primary therapeuticclassesis fierce.

      d. The first companyto marketa newdrug oftenreapsa substantialcompetitive

          advantage. Moreover, for each new drug to obtain FDA approval and reach

         the marketplace,pharmaceuticalcompaniesspendmillions of dollarsdrilling

          "dry holes" by investing in researchand development of other compounds,

          which ultimatelydo no make it throughthe regulatoryapprovalprocess.

      e. Only 250 of5,000 screenedcompounds enter the preclinical (animal) testing

          phase,and only oneof five drugsthat entershumanclinical trials is approved

          asa newmedicine.




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          f. In addition, it is often the case that competing companies are working on

             similar compoundsintendedto treatthe samemedical conditionin a raceto

             the finish line.

             Increased competition to find new and better cures for diseasehas resulted in

             a shortening period during which a new breakthrough medicine is without

             challengeon the market.

          h. For example,Tagamet@,
                                 an ulcerdrug introducedin 1977,had six yearson

             the market before another drug in the same class, Zantac@,was introduced.

             In contrast,Recombinate@,
                                     a geneticallyengineeredclotting factor for

             hemophiliaintroducedin 1992,had lessthan oneyear on the marketbefore

             the introductionof a competitorproduct,Kogenate@.

             The time requiredto conductand reportthe extensiverangeof safetyand

             efficacystudiesrequiredfor drug approval,aswell asa company'sefficiency

             in managingthe regulatoryprocessrequiredto obtain suchapproval,are key

             factorsin determiningthe financial successand profitability of a productthat

             makesit to market.

             Although US patentsfor drugsusuallylast for 20 years,the clock begins

             ticking from the momentthe applicationis submitted,generallywhena new

             drug is still in the discoveryphase.

             At this point most of the researchrequired for approval, and the associated

             deliberations by the FDA are still to follow. The averageperiod of effective

             patent life for pharnlaceuticals is 11 years.




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          Basedon the averageannualsalesfor the top tendrugs in 2001 ($4 billion),

          drug producers would stand to lose, on average, $ 1 million in sales for each

          day that their approval is delayed.

     m. Thus, anydelaysin researchor regulatoryapprovalwill havea significant

          financial impacton the manufacturer.

     ll. The financial realities that attend the high cost of research,the long period

          required for drug development, the high failure rate and the need to recoup

          developmentcostswithin a finite time frame,provide a significantincentive

          for drug producers to take any stepspossible to shorten any and all time-to-

          marketactivities.

     o.   The impactof competitionis alsoa key factor in determiningthe successof an

          approvedproduct.

     p. While phannaceutical patents confer exclusive rights to market a product for a

          limited amountof time, othermanufacturersarefree to produceand offer

          differentmedicinesto treatthe samedisease,andthereis strongcompetition

          betweentherapeuticclasses(for example,differentpatentedmedicinesto

          reducecholesteroland limit blood pressurecompetevigorously againsteach

          other).

     q. Accessto FDA-approvedstudydesigns,toxicology, reports,raw dataand

          otherrecordsdepictingtestingproceduresandresultsand any other

          infonnationassociatedwith a producersresearchprogramwould provide

          valuable competitive intelligence that could be used to enable a competitor to

          makekey strategicdecisionsregardingtheir own testing development

          programsfor competitiveproductswithin a giventherapeuticclass.

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          f.   Moreover,accessto the studydesi~s, reports,recordsof testeffectsand

               otherconfidentialdocumentationfrom productsin the sametherapeuticclass

               asa potentiallycompetingproductby a competitorof a Huntingdoncustomer

               would causecompetitive haml to that customer (or other producers with

               compounds in that therapeutic class) by providing the competitor them with a

               "head-start" in execution of their own development programs. Furthermore,

               Huntingdon's competitors would be able to utilize those same study designs,

               reports,recordsof testeffectsand otherconfidentialdocumentationto shorten

               the lengthof time neededto designstudiesand developproceduresto test

               thosepotentiallycompetingproducts.

          s. Huntingdon'sdetailedstudydesignscould easilybe derived from the study

               reports, raw data and other documentation reflecting their execution on a

               productwithin a particulartherapeuticclass,regardlessof whetheror not

               actualtestingprotocolsor the identity of the producttestedis available.

          t. Similarly, informationaboutthe type of compounda competitoris testing,and

               the stageto which the testinghasevolved,is usedby pharmaceutical

               companiesin the industriesHuntingdonservesto makedecisionsabout

               whetheror not to enteror continueto conductresearchin a givenarea,how

               fastto proceed,and how muchto invest.

               Often small bits of infonnation -such as the fact that a certain company is

               testing a compound on a particular type of animal, the actual evaluations

               perfonned, the sequenceand timing of procedures measurements,etc. -reveal

               valuable trade secretsto competitors, including insight into the therapeutic

               class to which a drug candidatebelongs.


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      Vo   The resultsof the testing,which oftendetenninewhethera compoundwill

           progress to the next stageof development, are critical competitive

           infonnation.

     W. The federal government expressly recognizes the trade secretnature of the

           sortof regulatorytestingdoneby Huntingdon. Accordingly, testdata

           supplied to the FDA in connection with new drug applications is exempt from

           public disclosureunderthe Freedomon InformationAct.

     x. This infonnation, in combinationwith the degreeandnatureof anytoxic

           effectsrevealedin Huntingdon'sstudyrecords,could enablecompetitorsof

           Huntingdon'scustomersto gainunfair commercialadvantage,by providing

           them with insight on competitors products in development, their relative

           degreeof safetyandtoxicity.

     y. Moreover,by providing accessto importantinformationcontainedin

           Huntingdon's confidential study records for a particular type of drug,

           competitorsof Huntingdon'scustomerscould gain unfair advantagein the

           developmentof their own, competingproducts,by allowing themto expedite

           the regulatory approval process through the use of study designs prepared in

           consultationwith, andapprovedby the FDA. Likewise,releaseof this

           informationwould causeHuntingdoncompetitiveharmbecauseits

           competitors would be able appropriate its study designs and methods to

           significantly shortenthe amountof time neededto designand conductproduct

           testing,therebymaking their competingresearchservicesmore attractiveto

           potential clients, who, as noted above, have a strong incentive to bring a

           productto marketas quickly aspossible.

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     z. Furthermore, one of the primary criteria for entrusting a laboratory such as

         Huntingdonin carrying-outsomeportionof a customer'sresearchprogramis

        it's ability to maintain strict confidentiality is all aspectsof the work

        perfonned,especiallyas it relatesto documentationgeneratedin supportof

        theseprograms.

     aa. Any breach in this confidentiality, whether or not it relates to a given program

        of work, a particular client or particularstudy,would seriouslydamage

        Huntingdon'sbusiness,asHuntingdon'scustomer'sconfidencein its ability

        to maintainthe confidentialityof its businesspracticeswould be shattered.

     bb. Animal rights groupslike IDA and StopHuntingdonAnimal Cruelty

        ("SHAC") willfully attempt to obtain confidential documentation from

        Huntingdonandits competitorsfor the expresspurposeof irreparablyharming

        their businesses,
                        by sowing concernin the minds of Huntingdon'scustomers

        that the environment that is maintained within these laboratories is insufficient

        to maintainthe strict confidentialitytheyrequireto securetheir tradesecrets

     cc. Furthennore,virtually all of Huntingdon'sanimaltestingbusinessfalls under

        the categoryof "regulatorytoxicology", in which confidentialresearch

        programs are conducted to generatetest results, which reveal the presence

        and/ordegreeof toxic effectsof drug candidatesand otherproductsin

        development.

     dd. Regulatoryauthorities,suchasthe FDA and EPA, requireanimal safety

        studiesto supportboth productapprovaldecisions,andthe approvalof

        clinical safetytestingin humans.
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      ee. To supportthesedecisions,FDA (for example)will usedata,suchas that

           which is generatedby Huntingdonin decidinghow to balancethe efficacy and

           toxicity of drug candidates in light of their therapeutic benefit.

      if. This two-part assessment
                                is supplementedby analysisof the availability and

           effectivenessof alternativetherapiescurrentlyon the marketto treata given

           condition.

     gg. Hence, drugs with proven efficacy, beyond that which is currently available in

           the marketplace,will oftenbe grantedmarketingapprovalby FDA, despite

           somedegreeof toxicity.

     hh. This is especiallytrue for therapiestargetinglife-threateningor chronic

           medicalconditions,or for conditionsfor which thereis currentlyno treatment

           available.

     II.   In theseinstances,FDA will often accepta greaterdegreeof toxicity for novel

           therapies than for "me-too drugs" and other therapies geared to treat minor

           conditions,

     jj.   Competition to replace existing therapies that exhibit some degree of toxicity,

           with safer products is fundamental to the development strategy of companies

           that bring new phannaceutical products to market.

     kk. Knowledgeof the toxic effectsseenduring the animaltestingphaseof

           product development could allow competitors of Huntingdon's clients to

           unfairly craft their own developmentprogramsby targetingproductsor

           markets where existing therapies are known to produce some degree of

           toxicity.



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           II. Disclosure of animal safety data representedby many of the records at issue

                 could be usedfor this purpose.

          mIn.      A numberof animalrights groupshavemadeallegationspurportingto

                 identify severalof Huntingdon'scustomersduring the period the recordsat

              issuewere generatedthesehave alreadybeendisclosedin the media,and on

              the web sitesof a numberof animalrights groups.

          un. This infonnationwas initially disclosedby an employeeof Peoplefor the

              Ethical Treatment of Animals ("PET A"), who worked undercover at

                 Huntingdon for 9 months during 1996 and 1997. (pET A filed the May 1997

                 complaintwith USDA, which led to the agency'sinvestigationof

              Huntingdon).

          00. Given that Huntingdon's unique study numbers were disclosed by USDA in

              its April 1998 complaint, disclosure of confidential infonnation on the effects

              of proprietary test compounds that these studies support could result in

              competitive haml to Huntingdon's customers, as their competitors would have

              unfair accessto the toxic effectsevidentin proprietaryanimal research

              programs.


DISCLOSURE OF ANY INFORMATION RELATING TO THE PERFORMANCECHARACTERISTICS OF
               THE PRODUCTSTESTEDWILL CAUSE HUNTINGDON AND
                    HUNTINGDON'S CLIENTS COMPETITIVE HARM

    33.   The following identifiesthe factssupportingHuntingdon'srequirementthat

          infonnation remain confidential pursuant to confidentiality agreementsit entered

          into with its clients.




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      a. Huntingdon maintains the confidentiality of its operations due to the

         competitivenatureof the CRO industry.

     b. The CRO industryis a growing and highly competitiveindustryascompanies

         in the pham1aceutical,
                             biotechnology,medicaldevice,andchemicals

         industriesuseCRO's extensively.

     c. Competitionfor large,multi-million dollar programsof work from major

         industryplayersis fiercestamongtheselargerlaboratoriesthathavethe kind

         of capabilities,experience,and reputationnecessaryto accommodate
                                                                        the

         extensivetestingrequirementsof theselargecompanies.

     d. Language in the Confidentiality Agreements reinforce the point that

         maintainingstrict confidentialityis a critical requirementin the industryin

         which Huntingdon competes -which include that its clients not divulge

         details aboutHuntingdon'soperations,practicesandprocedures.

     e. Huntingdon'sconcernfor the preservationof confidentialityof its facilities

         andprocedures,expressedin the ConfidentialityAgreements,is further

         demonstratedin an internal Huntingdondocument,which requiresthat all

         visitors (including Huntingdon's customers)sign an agreementthat binds

         themto strict confidentialityrequirementsprior to being affordedaccessto

         evenenterHuntingdon'sfacilities. A copyof this documentis attachedhereto

         as Exhibit A.

34   The following identifiesthe specificfactsapplicableto the specific categoryof

     infonnation and records at issue that demonstrate how the release of that

     infonnationwould allow Huntingdon'scompetitorsto gaina competitive

     advantage:

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35.   Clinical Observation Raw Data Reports

      a. Theserecordscontaininfonnation on specificdosagesadministeredto test

           subjects,uniqueanimalidentities,phannacologicalresponsesof testsubjects

           to experimentaltestcompoundsand equipmentusedin datacollection.

      b. The layoutof theserecords,andthe mannerin which the informationis

           documented, closely mirror the specifics contained in the Huntingdon SOPs to

           which they are associated.

      c    The specificityandtype of detailsrequiredin scientific recordsgeneratedby

           Huntingdonin supportof regulatoryprogramswould be of greatvalue to its

           competitors, in that it would allow them to easily derive important competitive

           infoTnlation about productivity perfoTnlance at Huntingdon.

      d. Theserecordscontainspecificdetailson sequenceandtiming of events,the

           numbersof staff assignedto certaintasks,andthe time requiredfor task

           completion.

      e,   They identify by name the specific procedure or activity representedby the

           record.

      f. In addition,specificationsfor collectionof documentedinfonnation in the

           mannerpresentedin theserecordsare prescriptivelydetailedin Huntingdon's

           SOP.

      g. Hence,the layoutof theserecords,andthe mannerin which the informationis

           documented, exactly mirror the specifics contained in the Huntingdon SOP to

           which they areassociated.

      h. Allowing Huntingdon'scompetitorsaccessto this informationwould cause

           Huntingdon competitive harm by easily allowing them to use these records to

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           replicateHuntingdon'sprocedures,which arethe resultof decadesof business

           evolution.

      i.   Accessby Huntingdon'scompetitorsto highly confidential,quantitative

           infonnation on the productivityand efficiencyof Huntingdon'sprocessesand

           procedures would provide them with fundamental and critical business

           intelligence.

      J    This infomlation   would be of great value to them in competitively    pricing

           their services, as Huntingdon's   competitors would possess a comprehensive

           profile of Huntingdon's   cost structure -infonIlation   that could prove pivotal

           in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

           or programs.

      k. Moreover, this infomlation would enable competitors to copy the detailed

           configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

           improve their own productivity performance, without any requirement that

           Huntingdon be compensatedin any way.

      1. Thus,disclosureof theserecordswould else causeHuntingdoncompetitive
           harm by allowing its competitors to unfairly replicate Huntingdon's      SOPs,

           from which these records are closely derived, and to gain valuable insight on

           Huntingdon'sresourceallocationand equipmentutilization.

36.   Necropsyand PostmortemExamination Reports

      a. Theserecordscontaininfonnation on specificdosagesadministeredto test

           subjects,uniqueanimalidentities,phannacologicalresponsesof testsubjects

           to experimental test compounds, equipment used in data collection, reagents

           and otherchemicalsusedin uniquecombinations.

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              b   The layoutof theserecords,andthe mannerin which the informationis

                  documented, closely mirror the specifics contained in the Huntingdon SOPs to

                  which theyareassociated.

              c. The specificityandtype of detailsrequiredin scientific recordsgeneratedby

                  Huntingdon in support of regulatory programs would be of great value to its

                  competitors, in that it would allow them to easily derive important competitive

                  informationaboutproductivityperformanceat Huntingdon.

                  Theserecordscontainspecificdetailson sequenceandtiming of events,the

                  numbers of staff assignedto certain tasks, and the time required for task

                  completion,

              e. Theyidentify by namethe specificprocedureor activity representedby the

                  record.

              f   In addition,specificationsfor collectionof documentedinformation in the

                  mannerpresentedin theserecordsareprescriptivelydetailedin Huntingdon's

                  SOP,

                  Hence,the layoutof theserecords,andthe mannerin which the informationis

                  SOPto which theyareassociated.

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                  Huntingdon competitive hann by easily allowing them to use these records to

                  replicate Huntingdon's procedures, which are the result of decadesof business

                  evolution.

                            by Huntingdon's competitors to highly confidential, quantitative

                  infomlation on the productivity and efficiencyof Huntingdon'sprocessesand



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Access
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               procedureswould provide themwith fundamentaland critical business

               intelligence.

           J

               their services,asHuntingdon'scompetitorswould possessa comprehensive

               profile of Huntingdon'scoststructure-infonnation that could prove pivotal

               in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

               or programs.

               Moreover,this infonnationwould enablecompetitorsto copythe detailed

               configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

               improve their own productivityperformance,without any requirementthat

               Huntingdon be compensatedin any way.

               Thus,disclosureof theserecordswould alse causeHuntingdoncompetitive

               haml by allowing its competitors to unfairly replicate Huntingdon's SOPs,

               from which these records are closely derived, and to gain valuable insight on

               Huntingdon'sresourceallocationand equipmentutilization.

     37.   Viability Record

           a. These records contain information on specific dosagesadministered to test

               subjects,uniqueanimalidentities,pharmacologicresponsesof testsubjectsto

               experimentaltestcompounds,detailedenvironmentalconditionsand specifics

               aboutthe researchareain which the studywas conducted

           b. The layoutof theserecords,andthe mannerin which the informationis

               documented, closely mirror the specifics contained in the Huntingdon SOPs to

               which they areassociated.



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             c. The specificityandtype of detailsrequiredin scientific recordsgeneratedby

                  Huntingdon in support of regulatory programs would be of great value to its

                  competitors,in that it would allow themto easilyderive importantcompetitive

                  informationaboutproductivityperformanceat Huntingdon.

             d. Theserecordscontainspecificdetailson sequenceandtiming of events,the

                  numbersof staff assignedto certaintasks,andthe time requiredfor task

                  completion.

             e. They identify by namethe specificprocedureor activity representedby the

                  record.

             f. In addition, specifications for collection of documented infoffilation in the

                  mannerpresentedin theserecordsare prescriptivelydetailedin Huntingdon's



             g. Hence,the layoutof theserecords,andthe mannerin which the information is

                  documented,exactlymirror the specificscontainedin the HuntingdonSOPto

                  which they areassociated.

            h. Allowing Huntingdon'scompetitorsaccessto this informationwould cause

                  Huntingdon competitive harm by easily allowing them to use these records to

                  replicateHuntingdon'sprocedures,which arethe resultof decadesof business

                  evolution.

             i.   Accessby Huntingdon'scompetitorsto highly confidential,quantitative

                  information on the productivity and efficiency of Huntingdon's processesand

                  procedureswould provide themwith fundamentaland critical business

                  intelligence.



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SOP.
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                This informationwould be of greatvalueto them in competitivelypricing

                their services,asHuntingdon'scompetitorswould possessa comprehensive

                profile of Huntingdon's cost structure -infonnation    that could prove pivotal

                in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

                or programs.

                Moreover,this infonnationwould enablecompetitorsto copythe detailed

                configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

                improve their own productivity performance, without any requirement that

                Huntingdon be compensatedin any way.

                Thus,disclosureof theserecordswould al5ecauseHuntingdoncompetitive

                hann by allowing its competitorsto unfairly replicateHuntingdon'sSOPs,

                from which theserecordsare closelyderived,andto gainvaluableinsight on

                Huntingdon'sresourceallocationand equipmentutilization.

     38.   Veterinary Treatment Requestsand Logs

           a. Theserecordscontaininfonnationon phannacologicresponsesof test

                subjectsto experimentaltestcompounds,andthe proceduresemployedin

                providing veterinary care and treatment to subjects.

           b. The layoutof theserecords,andthe mannerin which the informationis

                documented, closely mirror the specifics contained in the Huntingdon SOPsto

                which they are associated.

           c,   The specificityandtype of detailsrequiredin scientificrecordsgeneratedby

                Huntingdonin supportof regulatoryprogramswould be of greatvalueto its

                competitors, in that it would allow them to easily derive important competitive

                infoffilation about productivity perfOffilance at Huntingdon.

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             d. Theserecordscontainspecificdetailson sequenceandtiming of events,the

                 numbersof staff assignedto certaintasks,andthe time requiredfor task

                 completion.

             e. They identify by namethe specificprocedureor activity representedby the

                 record.

             f. In addition,specificationsfor collectionof documentedinfonnation in the

                 mannerpresentedin theserecordsare prescriptivelydetailedin Huntingdon's



             g. Hence,the layoutof theserecords,andthe mannerin which the informationis

                 documented,exactlymirror the specificscontainedin the HuntingdonSOPto

                 which they areassociated.

            h. Allowing Huntingdon's competitors accessto this information would cause

                 Huntingdon competitive haffil by easily allowing them to use these records to

                 replicateHuntingdon'sprocedures,which arethe resultof decadesof business

                 evolution.

                 Access by Huntingdon's competitors to highly confidential, quantitative

                 information on the productivity and efficiencyof Huntingdon'sprocessesand

                 procedures would provide them with fundamental and critical business

                 intelligence.

            j.   This infonnation would be of great value to them in competitively pricing

                 their services,asHuntingdon'scompetitorswould possessa comprehensive

                 profile of Huntingdon's cost structure -infonnation   that could prove pivotal

                 in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

                 or programs.

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      k.   Moreover, this infonnation would enable competitors to copy the detailed

           configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

           improve their own productivityperformance,without any requirementthat

           Huntingdon be compensatedin any way.

      1. Thus, disclosure of these records would else cause Huntingdon competitive

           harm by allowing its competitors to unfairly replicate Huntingdon's SOPs,

           from which theserecordsare closelyderived,andto gainvaluableinsight on

           Huntingdon'sresourceallocationand equipmentutilization.

39.   Test Protocols and Protocol Amendments

      a. Testprotocolsandprotocol amendmentscontaindetaileddescriptionsof study

           designs,the identity of Huntingdon' customers,proprietarytestchemical

           infonnation, descriptionsof Huntingdon'sdatacollectionmethods,unique

           computerizedstatisticalmethodsemployedin analyzingdata,consultants

           used,detailson equipment,specificsaboutuniqueHuntingdonprocedures,a

           detaileddescriptionof the specific layoutof the final report,specificdetails

           on the processesusedby Huntingdon'sInstitutionalAnimal CareandUse

           Committeein reviewandapprovalof protocols.

      b. Accessto this infonnationby Huntingdoncompetitorswould causeit

           competitive harnl by providing them with accessto methods and practices

           developedandrefined by Huntingdonoveryearsof businessevolution.

      c    The specificity and type of details required in scientific records generatedby

           Huntingdon in support of regulatory programs would be of great value to its

           competitors, in that it would allow them to easily derive important competitive

           infonnation aboutproductivityperfonnanceat Huntingdon.

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           d. Theserecordscontainspecificdetailson sequenceandtiming of events,the

               numbersof staff assignedto certaintasks,andthe time requiredfor task

               completion.

          e. They identify by namethe specificprocedureor activity representedby the

               record.

               In addition,specificationsfor collectionof documentedinformationin the

               mannerpresentedin theserecordsare prescriptivelydetailedin Huntingdon's

               SOP.

          g. Hence,the layoutof theserecords,andthe mannerin which the informationis

               documented,exactlymirror the specificscontainedin the HuntingdonSOPto

               which they are associated.

          h. Allowing Huntingdon'scompetitorsaccessto this informationwould cause

               Huntingdon competitive hann by easily allowing them to use these records to

               replicateHuntingdon'sprocedures,which arethe resultof decadesof business

               evolution.

               Accessby Huntingdon'scompetitorsto highly confidential,quantitative

               infonnation on the productivityand efficiencyof Huntingdon'sprocessesand

               procedureswould provide themwith fundamentaland critical business

               intelligence.

          j,   This infonIlation would be of great value to them in competitively pricing

               their services,asHuntingdon'scompetitorswould possessa comprehensive

               profile of Huntingdon'scoststructure-information that could prove pivotal

               in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

               or programs.

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      k. Moreover, this infoffilation would enable competitors to copy the detailed

           configuration of Huntingdon's confidential businesspractices, to measure and

           improve their own productivityperfonnance,without any requirementthat

           Huntingdonbe compensated
                                  in anyway.

      I. Thus,disclosureof theserecordswould alse causeHuntingdoncompetitive

           harn1by allowing its competitors to unfairly replicate Huntingdon's SOPs,

           from which these records are closely derived, and to gain valuable insight on

           Huntingdon'sresourceallocationand equipmentutilization.

40,   Final Test Reports and Related Records

      a. Final reportsandrelatedrecordscontaindetaileddescriptionsof study

           designs,the identity of Huntingdon'scustomers,proprietarytestchemical

           infornlation, descriptionsof Huntingdon'sdatacollectionmethods,unique

           computerizedstatisticalmethodsemployedin analyzingdata,consultants

           used, details on equipment, specifics about unique Huntingdon procedures,

           andthe pham1acologic
                              responsesof testsubjectsto experimentaltest

           compounds.

      b. Access to this information by Huntingdon competitors would cause it

           competitive harm by providing them with accessto methods and practices

           developedandrefined by Huntingdonoveryearsof businessevolution.

      c,   The specificityandtype of detailsrequiredin scientific recordsgeneratedby

           Huntingdonin supportof regulatoryprogramswould be of greatvalueto its

           competitors, in that it would allow them to easily derive important competitive

           infomlation aboutproductivityperfomlanceat Huntingdon.




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            d. Theserecordscontainspecificdetails on sequenceandtiming of events,the

                  numbers of staff assignedto certain tasks, and the time required for task

                  completion.

            e. They identify by name the specific procedure or activity representedby the

                  record.

                  In addition, specifications for collection of documented infomlation in the

                  mannerpresentedin theserecordsareprescriptivelydetailedin Huntingdon's



            g. Hence,the layoutof theserecords,andthe mannerin which the informationis

                  documented,exactlymirror the specificscontainedin the HuntingdonSOPto

                  which they areassociated.

            h.    Allowing Huntingdon'scompetitorsaccessto this informationwould cause

                  Huntingdoncompetitiveharmby easilyallowing themto usetheserecordsto

                  replicateHuntingdon'sprocedures,which arethe resultof decadesof business

                  evolution.

                 Access by Huntingdon's competitors to highly confidential, quantitative

                  infoffilation on the productivity and efficiency of Huntingdon's processesand

                  procedureswould provide themwith fundamentaland critical business

                  intelligence.

            J. This information would be of great value to them in competitively pricing
                  their services,asHuntingdon'scompetitorswould possessa comprehensive

                  profile of Huntingdon'scoststructure-infonnation that could provepivotal

                  in head-to-head competition with Huntingdon for awards of individual studies

                  or programs.




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      k. Moreover, this information would enable competitors to copy the detailed

          configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

         improve their own productivity performance, without any requirement that

          Huntingdon be compensatedin any way.

         Thus,disclosureof theserecordswould causeHuntingdoncompetitiveharm

         by allowing its competitorsto unfairly replicateHuntingdon'sSOPs,from

         which theserecordsare closelyderived,andto gainvaluableinsight on

         Huntingdon'sresourceallocationand equipmentutilization.

41.   Interim Test Reports

      a. Interim Testreportsandrelatedrecordscontaindetaileddescriptionsof study

         designs,the identity of Huntingdon'scustomers,proprietarytestchemical

         infonnation, descriptionsof Huntingdon'sdatacollectionmethods,unique

         computerizedstatisticalmethodsemployedin analyzingdata,consultants

         used,details on equipment,specificsaboutuniqueHuntingdonprocedures,

         andthe phannacologicresponsesof testsubjectsto experimentaltest

         compounds.

      b. Access to this infonnation by Huntingdon competitors would cause it

         competitive harn1by providing them with accessto methods and practices

         developedandrefined by Huntingdonoveryearsof businessevolution

      c. The specificityandtype of detailsrequiredin scientificrecordsgeneratedby

         Huntingdon in support of regulatory programs would be of great value to its

         competitors, in that it would allow them to easily derive important competitive

         infonIlation about productivity perfonIlance at Huntingdon.




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          d. Theserecordscontainspecificdetailson sequenceandtiming of events,the

                numbers of staff assignedto certain tasks, and the time required for task

                completion.

          e.    They identify by namethe specificprocedureor activity representedby the

                record.

          f.    In addition,specificationsfor collectionof documentedinformation in the

                SOP.

          g. Hence,the layoutof theserecords,andthe mannerin which the informationis

                documented,exactlymirror the specificscontainedin the HuntingdonSOPto

                which theyare associated.

          h. Allowing Huntingdon'scompetitorsaccessto this informationwould cause

                Huntingdon competitive hanD by easily allowing them to use these records to

                replicate Huntingdon's procedures, which are the result of decadesof business

                evolution.

               Access by Huntingdon's competitors to highly confidential, quantitative

                infonIlation on the productivityand efficiencyof Huntingdon'sprocessesand

                procedures would provide them with fundamental and critical business

                intelligence.

                This infonnation would be of great value to them in competitively pricing

                their services,asHuntingdon'scompetitorswould possessa comprehensive

                profile of Huntingdon'scoststructure-infonnation that could provepivotal

                in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

                or programs.




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             Moreover, this infoffilation would enable competitors to copy the detailed

              configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

             improve their own productivity performance, without any requirement that

              Huntingdon be compensatedin any way.

             Thus, disclosure of these records would alse cause Huntingdon competitive

             harm by allowing its competitorsto unfairly replicateHuntingdon'sSOPs,

              from which theserecordsare closelyderived,andto gainvaluableinsight on

             Huntingdon'sresourceallocationand equipmentutilization.

     42   Internal Huntingdon Memoranda

          a. Theserecordscontainnumerousreferencesto the developmentof study

             designs and methods, and discussion of the phaffi1acologic effect of

             experimentaltestcompounds.

          b. In addition,referencesaremadein theserecordsto confidential

             communicationswith Huntingdon'sclients,referencesto its SOPand

             confidentialbusinesspractices,and identificationof Huntingdon'scustomers.

          c. The specificity and type of details required in scientific records generatedby

             Huntingdonin supportof regulatoryprogramswould be of greatvalue to its

             competitors, in that it would allow them to easily derive important competitive

             infonnation aboutproductivityperfonnanceat Huntingdon.

          d. Theserecordscontainspecificdetailson sequenceandtiming of events,the

             numbers of staff assignedto certain tasks, and the time required for task

             completion.

          e. They identify by namethe specificprocedureor activity representedby the

             record.

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           f. Allowing Huntingdon'scompetitorsaccessto this informationwould cause

              Huntingdoncompetitivehann by easilyallowing themto usetheserecordsto

              replicateHuntingdon'sprocedures,which arethe resultof decadesof business

              evolution.

           g. Accessby Huntingdon'scompetitorsto highly confidential,quantitative

              informationon the productivityand efficiencyof Huntingdon'sprocessesand

              procedureswould provide themwith fundamentalandcritical business

              intelligence.

          h. This infomlationwould be of greatvalueto them in competitivelypricing

              their services,asHuntingdon'scompetitorswould possessa comprehensive

              profile of Huntingdon's cost structure -information that could prove pivotal

              in head-to-headcompetitionwith Huntingdonfor awardsof individual studies

              or programs.

              Moreover,this informationwould enablecompetitorsto copythe detailed

              configurationof Huntingdon'sconfidentialbusinesspractices,to measureand

              improve their own productivityperformance,without any requirementthat

              Huntingdon be compensatedin any way.

          J   Thus,disclosureof theserecordswould causeHuntingdoncompetitiveharm

              by allowing its competitors to unfairly replicate Huntingdon's SOPs, from

              which theserecordsare closelyderived,andto gainvaluableinsight on

              Huntingdon'sresourceallocationand equipmentutilization.

     43    Institutional Animal Care and Use Committee Records

              With regard to records and reports associatedwith Huntingdon's Institutional

              Animal CareandUse Committee("IACUC"), disclosureof theserecords

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         its competitorswith insightinto Huntingdon'soperations,which could be

         used to gain unfair competitive advantage.

     b. Huntingdon'sIACUC recordsincludemeetingminutes,facility inspection

         reports,programreviewsand otherspecialreportsto IACUC from

         Huntingdon management.

     c   TheserecordscontainnumerousdetailsaboutHuntingdon's facility

         configuration,proceduresandprograms,and specificdetails about

         confidentialresearchprogramsplacedat Huntingdonby its clients.

     d. DisclosureofIACUC recordswould makeavailableto Huntingdon's

         competitorsspecificdetailson its building configuration,equipment,

         confidentialSOP,staff training methods,organizationalstructureand other

         details aboutit's business.

     e. Suchdisclosurewould divulge tradesecretsthat are highly confidentialand

         strictly proprietary. Releaseof these records would severely erode

         Huntingdon's businessposition, and would compromise any advantage

         Huntingdonholds overits competition.

     f. Specificexamplesof the type ofinfonnation containedin Huntingdon's

         IACUC records which would potentially give Huntingdon's competitors a

         competitiveadvantageshouldthis infonnationbe disclosedare:

                SOPsandConfidentialBusinessPracticesasHuntingdon'sIACUC

                fonnally approves all SOPs relating to its animal testing business,

                including all documentupdatesandrevisions. This is one of the

                primary functions of Huntingdon's IACUC, and their recorded

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                deliberationscontainspecificdetailson SOPcontentanddevelopment.

                SOPs,and otherreferencesin Huntingdon'sIACUC recordsto

                confidentialbusinesspractices,delineateHuntingdon'suniqueand

                specialmethodsfor carrying out its business.

           2. Should this infonnation be made available to the general public, it

                would serve to unfairly reduce the significant barriers to entry for any

                potentialcompetitors,by allowing themto replicateHuntingdon's

                procedures,which arethe resultof decadesof businessevolution.

           3.   Referencesto ConfidentialResearchProgramsConductedfor

                Huntingdon's Clients. The IACUC's primary function is the review

                andapprovalof all Huntingdonprotocolsthat involve animalresearch.

                As such,the recordeddeliberationsof Huntingdon'sIACUC contain

                specificdetailson studydesignsthat supportthe approvalof

                proprietarytestcompoundsdevelopedby Huntingdon'sclients.

           4. Releaseof this infoffi1ationis likely to result in a significantloss

                and/orreductionin neworders,anda cancellationof currentbookings,

                becauseour clients would object to the public disclosure of their

                confidentialresearchplans.

           5 IACUC reportsof semi-annualprogramreviewsand facility

                inspections contain specific referencesto eachof Huntingdon's animal

                and support areas,including details on available capacity and capacity

                utilization. IACUC facility inspectionrecordsdelineateeachstudy

                room Huntingdonhasavailable,by particularspeciesthattheseareas

                canaccommodate.

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           6. Giventhat annualpublic reportingis requiredby USDA registered

                researchfacilities of the numbersof animalsusedfor eachregulated

                species,disclosure of specific infomlation on the researchfacilities

                Huntingdonhasavailablefor eachof thesespecieswould provide

                Huntingdon'scompetitorswith high-qualityintelligencethat could be

                used to competitively price their own studies, based on Huntingdon's

                availablecapacityand capacityutilization.

           7.   Moreover,theserecordscontainspecific infonnation on planned

                capital improvements and other facility enhancementsthat were under

                discussion during the period the relevant records were generated,and

                specificson the relative conditionof Huntingdon'sfacilities.

           8. Theserecordsalso containinfonnation aboutHuntingdon'sunique

                training programs,IT systems,informationon vendorsandconsultants

                used,and otheroperationaldetails;the reviewof which falls within the

                broadscopeofIACUC responsibility.

           9. Releaseof this infomlation underFOIA would createan unfair

                businessadvantagefor Huntingdon'scompetitorsby providing them

                with detailedandspecific infontlation aboutHuntingdon'soperation

                that is not available to them through any other means.

           10. This infonnationcould be usedby Huntingdon'scompetitorsto

                improve their marketingefforts at Huntingdon'sexpense,by providing

                them with unfair public accessto information that would enable them

                to strategicallypositiontheir own capabilitiesin competingagainst

                Huntingdonfor new orders.

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         44.   Internal USDA Investigatory Memoranda




               b. These records contain descriptive and specific infoffilation on confidential

                  researchprogramsperfonnedby Huntingdon.

               c. Giventhe 1998USDA releaseof the identitiesof severalof Huntingdon's

                 studies,disclosureof theserecordswould makeavailableto competitorsof

                 Huntingdon's customers that sponsoredthese studies, information on the

                 toxicity of proprietaryexperimentalcompounds.



                 competitorsof Huntingdon'scustomerscould craft their own development

                 programsutilizing data from their competitorsthat demonstrates
                                                                              the toxic

                 effectsof testcompoundsin development.



    I DECLARE UNDER PENALTY OF PERJURYTHAT THE FOREGOINGIS TRUE AND




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